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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 JENNIFER VANDERSTOK, et al.,                   §
                                                §
        Plaintiffs,                             §
                                                §
 v.                                             §
                                                §
 BLACKHAWK MANUFACTURING                        §
 GROUP INC., et al.,                            §
                                                §   Civil Action No. 4:22-cv-00691-O
        Intervenor Plaintiffs,                  §
                                                §
 v.                                             §
                                                §
 MERRICK GARLAND, in his Official               §
 capacity as Attorney General of the            §
 United States, et al.,                         §
                                                §
        Defendants.                             §

                                            ORDER

       Before the Court is Defendants’ Motion to Exceed Page Limits (ECF No. 198), filed April

6, 2023; Original Plaintiffs’ Response (ECF No. 200), filed April 10, 2023; and Defendants’ Reply

(ECF No. 201), filed April 14, 2023. Intervenor Plaintiffs do not oppose Defendants’ motion and

provided no briefing. Having considered the briefing and finding good cause to permit Defendants

to file a closing merits brief of no more than 55 pages, the Court GRANTS the motion and

ORDERS Defendants to separately file the brief on the docket no later than April 19, 2023.

       SO ORDERED this 16th day of April, 2023.


                                                _____________________________________
                                                Reed O’Connor
                                                UNITED STATES DISTRICT JUDGE
